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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK

       UNITED STATES OF AMERICA

              -v.-
                                                                  S4 23 Cr. 490 (SHS)
       ROBERT MENENDEZ,
       WAELHANA,                                                 VERDICT SHEET
          a/k/a "Will Hana,"
       and FRED DAIBES,

                                 Defendants.



                                            VERDICT SHEET

      Please indicate your verdict with a check mark(✓) .

      COUNT ONE:                   Conspiracy to Commit Bribery


      ROBERT MENENDEZ:             Guilty           / ~       Not Guilty

      WAELHANA:                    Guilty      /              Not Guilty

      FRED DAIBES:                 Guilty      /              Not Guilty

      If, and only if, you have found FRED DAIBES guilty of Count One, indicate whether he was
      released on an appearance bond at the time of the 7 e :

                                   Released on Bond           Not Released on Bond - - --


      COUNT TWO:                   Conspiracy to Commit Honest Services Wire Fraud

      ROBERT MENENDEZ:             Guilty       ./            Not Guilty _ _ _ __

      WAELHANA:                    Guilty       .
                                                ,/            NotGuilty _ _ _ __

      FRED DAIBES:                 Guilty   /                 Not Guilty _ _ _ __

      If, and only if, you have found FRED DAIBES guilty of Count Two, indicate whether he was
      released on an appearance bond at the time of the offense:

                                   Released on Bond_L__       Not Released on Bond _ _ __
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COUNT THREE:                Conspiracy to Commit Extortion Under Color of Official Right

ROBERT MENENDEZ:            Guilty   /                   Not Guilty _ _ _ __


COUNT FOUR:                 Conspiracy to Commit Obstruction of Justice

ROBERT MENENDEZ:            Guilty   ,/                  Not Guilty _ _ _ __

FRED DAIBES:                Guilty   ./  .               Not Guilty _ _ _ __


COUNT FIVE:                 Bribery - Actions to Benefit Wael Hana and Egypt

ROBERT MENENDEZ:            Guilty   ,/                  Not Guilty _ _ _ __


COUNT SIX:                  Bribery - Actions to Benefit Wael Hana and Egypt

WAELHANA:                   Guilty+ -                    Not Guilty _ _ _ __

FRED DAIBES:                Guilty_____                  Not Guilty _ _ _ __

If, and only if, you have found FRED DAIBES guilty of Count Six, indicate whether he was
released on an appearance bond at the time of the offense:

                            Released on Bond1            Not Released on Bond _ _ __


COUNT SEVEN:                Honest Services Wire Fraud - Actions to Benefit Wael Hana
                            and Egypt

ROBERT MENENDEZ:                                         Not Guilty _ _ _ __

WAELHANA:                                                Not Guilty _ _ _ __

FRED DAIBES :                                            Not Guilty _ _ _ __


released on an appearance bond at the time of the

                            Released on Bond
                                                   Z'
If, and only if, you have found FRED DAIBES guilty of Count Seven, indicate whether he was


                                                         Not Released on Bond - - - -




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COUNT EIGHT:                Extortion Under Color of Official Right - Actions to Benefit
                            Wae1Ha: 7Egypt
ROBERT MENENDEZ:            Guilty     ·                 Not Guilty _ _ _ __


COUNT NINE:                 Honest Services Wire Fraud - Actions to Benefit Jose Uribe
                            and Uribe's Associates

ROBERT MENENDEZ:            Guilty     vS                Not Guilty _ _ _ __

WAELHANA:                   Guilty_~L__
                                    ~---                 Not Guilty _ _ _ __


COUNT TEN:                  Extortion Under Color of Official Right - Actions to Benefit
                            Jose Uribe and Uribe's Associates

ROBERT MENENDEZ:            Guilty     ,/                Not Guilty _ _ _ __


COUNT ELEVEN:               Bribery - Actions to Benefit Fred Daibes and Qatar

ROBERT MENENDEZ:            Guilty     ✓                 Not Guilty _ _ _ __


COUNT TWELVE:               Bribery - Actions to Benefit Fred Daibes and Qatar

FRED DAIBES:                Guilty /                     Not Guilty _ _ _ __

If, and only if, you have found FRED DAIBES guilty of Count Twelve, indicate whether he was
released on an appearance bond at the time of the offense:

                            Released on Bond_L_          Not Released on Bond _ _ __


COUNT THIRTEEN:             Honest Services Wire Fraud - Actions to Benefit Fred Daibes
                            and Qatar

ROBERT MENENDEZ:            Guilty     ✓                 Not Guilty _ _ _ __

FRED DAIBES :               Guilty   ,/                  Not Guilty _ _ _ __

If, and only if, you have found FRED DAIBES guilty of Count Thirteen, indicate whether he
was released on an appearance bond at the time of the offense:

                            Released on Bond- L Not Released on Bond _ _ __


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 COUNT FOURTEEN:           Extortion Under Color of Official Right - Actions to Benefit
                           Fred Daibes and Qatar

 ROBERT MENENDEZ:          Guilty       ,/             Not Guilty _ _ _ __


 COUNT FIFTEEN:            Conspiracy For a Public Official to Act as a Foreign Agent

 ROBERT MENENDEZ:          Guilty           /          Not Guilty _ _ _ __

 WAELHANA:                 Guilty       /              Not Guilty _ _ _ __

 COUNT SIXTEEN:            Public Official Acting as a Foreign Agent

 ROBERT MENENDEZ:          Guilty   ,/                 Not Guilty _ _ _ __


 COUNT SEVENTEEN:          Conspiracy to Commit Obstruction of Justice

 ROBERT MENENDEZ:          Guilty   /                  Not Guilty _ _ _ __


 COUNT EIGHTEEN:           Obstruction of Justice

 ROBERT MENENDEZ:          Guilty_---1o\.~/ _ __       Not Guilty _ _ _ __



     You have completed the verdict form. Please sign the verdict form and return to the
courtroom.




                                                                           .,
New York, New York

July   _lk,                                     ~




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